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Subject Design 1                                                   Young Decl. p. 7
                                                                 ‐ Jean Paul Gautier
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NB161106                                               Young Decl. p. 8 ‐ bluefly
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NB161106                                                Young Decl. p. 8




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    Case 2:20-cv-11181-CAS-JPR Document 76 Filed 11/23/21 Page 5 of 13 Page ID #:1531




NB161106                                                         Young Decl. p. 8
                                                                    ‐ Chico’s




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    Case 2:20-cv-11181-CAS-JPR Document 76 Filed 11/23/21 Page 6 of 13 Page ID #:1532




Subject Design 1                                  Young Decl. p. 9 – “web selection”
    Case 2:20-cv-11181-CAS-JPR Document 76 Filed 11/23/21 Page 7 of 13 Page ID #:1533




Subject Design 1                                  Young Decl. p. 9 – “web selection”
    Case 2:20-cv-11181-CAS-JPR Document 76 Filed 11/23/21 Page 8 of 13 Page ID #:1534




Subject Design 1                                       Young Decl. p. 9 – Dillard’s
    Case 2:20-cv-11181-CAS-JPR Document 76 Filed 11/23/21 Page 9 of 13 Page ID #:1535




NB161106                                                Young Decl. p. 9




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    Case 2:20-cv-11181-CAS-JPR Document 76 Filed 11/23/21 Page 10 of 13 Page ID #:1536




NB170268                                                 Young Decl. p. 9




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                                                                Young Decl. p. 9
NB161106                                                         ‐ Tina Skinner




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    Case 2:20-cv-11181-CAS-JPR Document 76 Filed 11/23/21 Page 12 of 13 Page ID #:1538




                                                                Young Decl. p. 9
NB170268                                                         ‐ Tina Skinner
   Case 2:20-cv-11181-CAS-JPR Document 76 Filed 11/23/21 Page 13 of 13 Page ID #:1539




Subject Design 1                                   Young Decl. p. 10 – “web selection”
